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                                IN TED STATES D ISTR ICT COU RT
                                          FOR THE
                                SOUTHERN DISTRICT OF FLORIDA

    DON ALD J.TRUM P

                                                                     CA N O.22-cv-14102
    HILLM W R.CLINTON,eta1.

                                     M O TION TO INTERW NE


           JimmySmith (Smith),an interestedparty,respectfullyrequeststhatthisHonorableCourt
    allow him tointew ene.Sm ith isgiven an unconditionaland/orconditionalrightto intervene by a

    federalstatuteand/orclaimsaninterestrelatingtothepropertyortransactionthatisthesubjectof
    theaction,and isso situated thatdisposing oftheaction m ay asapracticalm atterim pairor

    impede Smith'sabilityto protecthisinterest,and no existing partiesadequately representthat

    interest.Furthermore Smith hasaclaim ordefensethatshareswith them ain action acom mon

    question of1aw orfact.ln particularSm ith iscurrently involved in two M otionsto Dism isswhere

    lqbaland Twombly willbe cited.Smithhastwo currentcasesin theUnited StatesDistrictCourt

    fortheDistrictofRhodeIsland.Thecasesare21cv133 and 21cv190.1Although thiscasehasnot

    reachedthisstageyet,undoubtedly Twiqbalwillbecited and discussed.Furtherm ore,Sm ith hasa

    closed casein which hefiled am otion forrecusaland itwasdeniedz.Smith isappealing these

    decisionstotheFirstCircuitCourtofAppealswhich isseeking to replaceaJusticewho ison

    seniorstatusand who isontheBoard ofDirectorsofRogerW illiam sLaw School.

           Asareminder,therightto intew enein a civilaction pending in United StatesDistrict

    Courtisgenerally governed by Rule24 orby particularfederalstatute.See Stream Pollution


    1Smith vs RogerW illiams Law Schooletaland Smith vs RogerW illiam sLaw Schooirespecti
                                                                                        vely.
    2SmithvsSixthDivisionDistrictCoud,22cv131(D.R.I.)
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    ContolBoardv.United StatesSteel.Inca,62F.R.D.31,18Fed.R.Serv.2d(Callaghan)1386,
    1974U.S.Dist.LEXIS 12799(N.D.lnd.1974),a/d,512F.2d 1036,7Env'
                                                                tRep.Cas.(BNA)
    1791,5Envtl.L.Rep.20261,1975U.S.App.LEXIS 15662 (7th Cir.1975).Citedby United
    Sàtesv.HookerChems.& PlasticsCorp.,101F.R.D.444(W .D.N.Y 1984),N.Hempsteadv.N.
    Hills,482F.Supp.900(E.D.N.Y 1979),J.E.BrennemanCo.v.Schramm,473F.Supp.1316
    (E.D.Pa.1979),Underwoodv.W addell,743F.Supp.1291(S.D.lnd.1990),Commonwea1th
    EdisonCo.v.Train,71F.R.D.391(N.D.111.1976),andEnvtl.Def Fund.lnc.v.Costle.79
    F.R.D.235(1978).
          Also,therequirem entsforintervention should generally bem oreliberalthan thosefor

    standing to bring suit.SeeUnited Statesv.Board ofSchoolCom m'rs,466 F.2d 573,16Fed.R.

    Serv.2d(Callaghan)553,1972U.S.App.LEXIS7932 (7th Cir.1972),cert.denied,410U.S.
    909,93S.Ct,964,35L.Ed.2d271,1973U.S.LEXIS3586(1973).CitedbyUnitedStatesv.
    Strincfellow.783F.2d821(9thCir.1986),Soanqlerv.PasadenaCitvBd.ofEduc.,552F.2d 1326
    (9th Cir.1977),Johnsonv.S.F.UnisedSch.Dist.,500F.2d349(9thCir.1974),LennarM are
    Island.LLC v.Steadfastlns.Co.,No.2:12-cv-02182-K.
                                                    1M -KJN,2016 U.S.Dist.LEM S 139383

    (E.D.Cal.Oct.5,2016),S.YubaRiverCitizensLeaguev.Nat'lM arineFisheriesSel'
                                                                            <,2007U.S.
    Dist.LEM S81636(E.D.Cal.Oct.16,2007),Doev.Schwarzenezzer.2007U.S.Dist.LEM S
    8501(E.D.Cal.Jan.17,2007),Ox cersforJusticev.CivilServ.Com.,473F.Supp.801(N.D.
    Cal.1979).M oraanv.M cDonouzh,726F.2d 11(1stCir.1984),andAvew v.Heckler.584F.
    Supp.312 (D.M ass.1984).
    Im pairm entofSm ith'sAbilityto ProtectH isInterest

          Intew ention isconcerned with som ething morethan standing to sue;itisconcem edw ith



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   protecting interestwhich practically speaking can beprotected only through intew ention in

   currentproceeding.SeeHatton v.CotmtyBd.ofEducation,422 F.2d 457,13 Fed.R.Serv.2d

   (Callaghan)710,1970U.S.App.LEM S 10543(6thCir.1970);Hobsonv.Hansen,44F.R.D.18,
    11Fed.R.Serv.2d(Callaghan)676,1968U.S.Dist.LEXIS 12671(D.D.C.1968),aff'd inpart
   andrev'dinpart,408F.2d 175,132U.S.App.D.C.372,12Fed.R.Serv.2d(Callaghan)622,
    1969U.S.App.LEXIS 9277O .C.Cir.1969).

          UnderRule24(a)(l),thetestforstandingtointerveneisnotwhetherapplicantsfor
    intew ention havebeen orwillcertainly beharmedby defendantsaction,butwhethertheir

   interestsmay beadversely aFected.SeeUnited Statesv.H ooker540F.Supp.1067.17 Env'tRep.

   Cas.(BNA)1808,12Envtl.L.Rep.20701,1982U.S.Dist.LEXIS 17793(W.D.
                                                                 N .Y.1982).Asa
   United Statescitizen my rightsm ay beadversely affected by aruling in thiscase.Asa citizen,my

   joinderisarguablyrequiredandorpermissiveunderjoinderrulesaswell.
          Standing to sue and rightofintervention arenotsam ething andintew enorsneed notm ake

   showing ofArticleIlIstanding;to possessstanding meansthatapartyhassuffcientstakein an

   otherwisejusticiablecontroversy toobtainjudicialresolutionofthatcontroversy,andwhere
   existenceofcase orcontroversy hasbeen established asbetween existing parties,thereisno need

   to impose standing requirementupon proposed intew enor.SeeUnited Statesv.CitvofNew York,

    179F.R.D.373,30Envtl,L.Rep.20573,41Fed.R.Serv.3d(Callaghan)920,1998U.S.Dist.
   LEXIS 6874(E.D.N.Y 1998)andDavv.Sebelius,376F.Supp.2d 1022,2005U.S.Dist.LEXIS
    15344(D.Kan.2005),azd,500F.3d 1127,2007U.S.App.LEXIS20790 (10th Cir.2007).
          AsSm ith hasin form apauperisstatus,he asksthatthism otionbe served on a11partiesvia

   USM arshal(unlessthepartiesaresignedup forelectronicnotifkation).


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    Isl Ji

    Pro Se


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                                                  Certificate Of Service




    I cert~fy that on ·this 29th day of April, 2022; I caused this document to be entered on the

    docket and made available to view by all parties and/or ~lectronically served upon all parties .


                                            ...
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    Isl Jimmy S:t;nith


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